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EXHIBIT 5
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COPY

NFL CONCUSSION QUESTIONNAIRE

Personal and Confidential
Please complete the following information as completely as possible. If you need more space, continue your answer(s) on
separate sheets clearly marking the section and question number(s) (i.e., 1. Identifying Information, Question No. 1). All
information provided is confidential and will not be provided to a third party without your consent.
I. CONTACT INFORMATION
1. Name of person completing this quewioenatre: A) Chey “YD Yan
2. Contact Information: Mailing Address: GOH Cauntu C Ce ely
Reo) Cok A ISIS
Primary Phone: UWw4- BAYS 2Y 2 Secondary Phone: OQ} 2d Uo- 3005
E-mail address: \\ yoniclivant @_ Qa\. Com,

3. If you are completing this form on behalf of someone else, please answer the following: N /\ {\

What is your relationship to the injured party?

Why are you completing this form on his/her behalf? (ex: disability, dementia)

4. If the injured party has died, please answer the following: Uy A

Date of death:

Name of Personal Representative or Executor:

Identify all known beneficiaries and their relationship to the decedent:

2

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13.

14,

Il. INJURED PARTY INFORMATION
(The remaining information in this questionnaire concerns only the injured party)

Name of injured party if different from above:

Date of Birth: 1 | SJ ys

Social Security Number: YS9-5 JQYUP

Marital Status: Married Single _ Separated __
Name of Spouse, if married: janes ipo Dov,

Names and ages of children, if any:_ :
Came \S and Ara 4 oa

Current occupation, ifany: LInéiCy fl Oyen

Have you ever filed a lawsuit before? __}\ » If yes, please state the nature of the
lawsuit, when it was filed, and the result:

As an adult, have you ever been convicted of a or any other crime involving fraud

or dishonesty 2yp5 KD _ If yes, please explain:| DA Sty pe aye_

Ill. PLAYING CAREER INFORMATION

Please list the names of all professional football teams you played for, the positions
played, and the years you played there:

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15.

Describe why you stopped playing professional football:

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16.

17.

IV. INJURY INFORMATION

While playing professional football, did you evs suffer a concussion or serious blow to
the head that you suspect was a concussion? Ges) No (circle one)

a.

If yes, how many distinct injuries of this type did you suffer: | + ;

For each concussion or serious blow to the head you suffered, please complete the
following information. If you need more space, please use the back of this page.

a. Date of injury (as specific as possible): CoUn- fey Gane: AD RSS
pes repads ~' . ¢
b. Team playing for at time of injury: (‘ LA Ko, , ee
é. Describe the injury and incident that caused it:
—~

|ACY \ 225
d. Did you receive treatment at the time of the injury? Yes/ rcle one)

i. If no, describe why not:

Lica tard 17m sAva@kone A Nusdlorf

ii. If yes, describe:

i) Who treated you (be as specific as possible, listing the occupation
of the treating person — e.g., team physician, trainer, teammate, etc.
- the person’s name, and any other information regarding the
person or his/her whereabouts):

y) 2

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ii) When you were treated (e.g., on the field, days later, etc.):

OP

iii) | The specific treatment you received:

VP

y

iv) What, ifanything, were you told about the injury and how it should
be treated:

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v) tie you ever told or was it ever suggested to you that your head
injury was not a serious injury or that you should “suck it up” and
play through it? If yes, describe who told you this and what they
said:

Ves Ny IODualoh be CIC.

ST

OK 40 syome DW OFS

vi) Describe if and when you returned to active participation in
practice/games for your team following your head injury:

The AO Ir Dwr, (WEOR

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e. Describe any symptoms you suffered at the time of the injury:

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Lda bai Neo USD.
DT) 1

f. Did you suffer ongoing symptoms after the time of the injury? Yes/No (circle one)

i. If yes, describe the symptoms, how long they lasted, and any ongoing
treatment you received:

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lAluyfeeA WES

g. Do you still suffer symptoms from your injury to this day? Yes/ No (circle one)

i. If yes, describe the symptoms and any treatment you are presently
receiving:

nemo. \oss _\ignk oud Qoos Necklace ne

h. Has any doctor ever told you that your head injuries were permanent? If yes,
please describe:

LUO

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18.

19.

20.

Did any NFL team you play for ever provide information to you about the risks of
concussion, how to avoid getting a concussion, how to identify a concussion, or what
steps you should take if you believed you suffered a concussion? Yes/No (circle one). If
yes, please describe:

a. Who provided you such information, when, and where:

NO

b. Information you received:

Sf a

Prior to your professional football career, did you ever suffer.a concussion or serious

blow to the head that you suspect was a concussion? Yes/(No (dircle one)

a. If yes, please list all such injuries, when they occurred, and the circumstances
surrounding each such injury

V. MEDICAL TREATMENT

Please provide us with the following information for each doctor, orthopedic specialist,
chiropractor, physical therapist, or any health care professional who treated you for any
symptoms you believe are related to head injuries you suffered as an NFL player. Please
use additional sheets if necessary.

a. Name of health care provider:

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21.

Address of health care provider:

TB10 SN bWeatm< Ent Sire & |
‘Dallas, Tv 7S 237

Treatment sought:

treo te ‘wo

Dates of treatment:

Please provide us with the following information regarding any hospital, emergency room
or urgent care clinic where you were treated for any symptoms you believe are related to
head injuries you suffered as an NFL player:

Name of hospital or clinic:

OIA

Address of hospital or clinic:

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c. Treatment sought:

d. Dates of treatment:

22. Has any physician or care provider ever associated your symptoms with playing
professional football? No (circle one)

If yes, please state which doctor, what he/she said and when:

Og AHA

VI. ECONOMIC AND OTHER LOSSES

23. Have you lost time from work due to your professional football-related head injuries?
Yes/(N> (circle one.) If yes, please explain:

a. What type of work were you performing:

b. Why did you need to miss work:
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23.

24.

Have

VI. ECONOMIC AND OTHER LOSSES

u lost time from work due to your professional football-related head injuries?

Yes{No/(circle one.) If yes, please explain: T_ QM scl We

a.

What type of work were you performing:

wher
ry

Why did you need to miss work:

Time missed from work:

re

Salary/wages:

re

\

What limitations do you have as a result of your professional football-related head
injuries?

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25.

26.

Have you incurred medical expenses out of pocket as a result of seeking treatment for
professional football-related head injuries? No (circle one). If yes, please state:

a.

b.

Amounts paid out of pocket by you:

\ poo +
fp

Dates of payments:

BO\W\-doiay

Circumstances of payments (e.g., name of health care provider, treatment sought):

Pre Cos Che Sele

Have you ever filed a Workers Comp claim specifically related to your head injuries? If
yes, please provide details:

a.

b.

When you filed Workers Comp claim:

Where you filed claim (city and state):

What injuries were included in your claim (note specifically whether head
injuries, concussion, cognitive impairment or the like were part of your claim):

WP\e

Outcome of claim:

NV
Uw

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Please provide any useful details concerning what has happened to you as a result of any
concussions or head injuries you suffered as an NFL player. Please describe how this has
affected your life on the back of this page. Please be as specific as possible and use additional
sheets of paper if necessary.

Thank you for taking the time to complete this questionnaire!

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defensive \ocek Soo Ane PEL,
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OF daprcssso , Srerr A MOVs,
looS & NReacdcches.

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ZIMMERMAN REED, P.L.L.P.
NFL HEAD INJURY QUESTIONNAIRE

Personal and Confidential

Please complete the following information as completely as possible. If you need more space,
continue your answer(s) on separate sheets. All information: provided is confidential and will
not be provided to a third party without your consent,

INJURY RELATED INFORMATION:

1, To the best of your knowledge, have. you ever been told by a doctor or any other health care
provider, that you have or had any of the following:

a. ALS (Lou Gehrig's Disease) Yes. vo No.
b. Parkinson's Disease Yes_ No___
c. Alzheimer’s Yes_ No__.
d. Dementia Yes_ No
e, Chronic Headaches/Migraines ‘ Yes. No
f Blurry Vision Yes__ No.
g Depression Yes No
h. Sleep Apnea Yes__ No.
i. CTE (Chronic Traumatic Encephalopathy) Yes No___
j. Dizziness Yes No___
k. Memory Loss Yes No.
1. Impulse Control Yes No
m.  Neurocognitive Disorder Yes_ No_
n. Irritability/Anxiousness Yes No
0.. Numbness Yes___ No
If yes, where:
p Tinitus (Ringing of the Ears) Yes No
q. Chronic Brain Injury Yes_ No
Tr: Fatigue Yes No
--§ =~ Suicidal Thoughts ~ ~ ~ Yes_s No
t. Neck/Cervical Arthritis Yes No
i. Forgetfulness Yes _ No__
u: Other: Yes_ No
If yes, specify:

2. If you responded yes to any’of the above, please identify the condition, the date of onset and
State the name of the physician or other healthcare provider who made the diagnosis or
informed you of the condition.

“YEN

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Name, address; and telephone number of diagnosing physician or other healthcare provider:
Vr. “lWviveds

CK Or HY YS

b. Condition:

Date of Onset:

Name, address, and telephone number of diagnosing physician or other healthcare provider:

28 eRe a Fern ee ERTS Ladin ees:

¢. Condition:

Date of Onset:

Name, address, and telephone number of diagnosing physician or other healthcare provider:

(Add Additional Sheets if Necessary)

I declare that the foregoing information is true and correct to the best of my knowledge,
information and belief.

Rickey Dixon
908 Country Creek Lane
Red_Oak, TX 75154

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Tina Olson

From: Brian Gudmundson

Sent: Wednesday, July 31, 2013 9:16 AM

To: Tine Olson

Subject: FW: Medical form/information for Rickey Dixon

FYLrez:concussion client Rickey Dixon

Front: dixonidixon4@aol.com [mailto:dixonidixon4@aol.com]
Sent: Wednesday, July 31, 2013 9:15 AM

To: Brian Gudmundson

Subject: Medical form/information for Rickey Dixon

Hi Brian,

| just mailed off our response to the questionnaire that Zimmerman sent out,
We were out of town and saw it this week. :

| noticed that the due date for the information is August1, 2013.

and | arn not sure if you will get Rickey's by then so lam) supplying you

with some information per this e-mail.

Rickey was-diagnosed on July 8, 2013 with ALS.

His. doctor's name is Dr. Trivedi with UT Southwestern,

| sighted the medical release, please let me know if you need
anything else’prior to receiving the forms.

Best Regards,

Lorraine
